Case 1:13-cv-13086-JGD Document 38-4 Filed 07/15/15 Page1of2

Exhibit C
Case 1:13-cv-13086-JGD Document 38-4 Filed 07/15/15 Page 2 of 2

October 3, 2014

Dmitry Lev, Esq.

Law Offices of D. Lev, PC
134 Main Street
Watertown, MA 02472

Re: Simeon Niles v. Town of Wakefield, et al.
United States District Court No. 1:13-ev-13086-GAO

Dear Attorney Lev:

On July 21, 2014, I sent the following discovery requests to you with regard to the above-
referenced matter.

1, Defendants’ First Requests for Production of Documents to the Plaintiff, Simeon
Niles; and

2. Defendants’ First Set of Interrogatories to be Answered by the Plaintiff, Simeon
Niles,

The answers and response were due September 7, 2014 and we agreed to an extension to
September 30, 2014. To date, we have not received any responses. Please answer and respond
by October 10, 2014. Thank you for your assistance in this matter.

If you should have any questions, please do not hesitate to call me.

Very truly yours,

Chantelle M. D'Angeio
CMD/tap

Enc.
13 TRI 109
